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June 26, 2023

Via ECF

The Honorable Robert W. Lehrburger
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007-1312

Re:    PDV USA, Inc. v. Interamerican Consulting, Inc., No: 1:20-cv-03699-JGK-RWL

Dear Judge Lehrburger:

On January 3, 2023, the Court stayed this action until April 3, 2023. ECF No. 129. On April 4,
2023, the Court extended the stay until July 3, 2023 and directed the parties to file a joint status
report by June 26, 2023. ECF No. 135. This letter is the joint status report of the parties.

The case was stayed to afford PDV USA, Inc. (“PDV USA”) an opportunity to receive the so-
called “Missing Documents.” The “Missing Documents” include—as alleged in the criminal
indictment of David Rivera, the owner of defendant Interamerican Consulting, Inc.
(“Interamerican”)—text messages, WhatsApp messages, and email communications involv ing
Mr. Rivera. See ECF Nos. 129, 135. The Court entered a stay—and subsequently extended the
stay—to “provide time and opportunity for the production of” the Missing Documents to Mr.
Rivera in the criminal matter, at which time the documents could be produced by Interamerican to
PDV USA in this action. Id.

Interamerican has not come into possession of the Missing Documents and they have not been
produced to Mr. Rivera in the criminal matter. Mr. Rivera is scheduled to be arraigned on August
14, 2023.

The parties have met and conferred. PDV USA believes that the stay should be extended for
another 90 days, through October 2, 2023. Interamerican believes that extending the stay as to all

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Hon. Robert W. Lehrburger




discovery is unreasonable and opposes PDV USA’s request. The parties will submit separate letter
briefs setting forth the bases for their respective positions.


Respectfully submitted,



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cc: All counsel of record (by ECF)




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